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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OKLAHOMA


 UNITED STATES OF AMERICA,

                          Plaintiff,

 v.                                                           Case No. 24-CR-0372-SEH

 ARTHUR EDWARD SUAREZ, JR.,
 KENDRA DEANNE SINGLETARY,
 DANA MICHAELLE STOKES,
 TONEY EUGENE BAHE,
 NATHAN ALLEN LEWELLING,
 KENNETH WAYNE TONEY,
 OSMAN ROLANDO SANCHEZ,
 KAYLA MARISA BRADFORD,
 JEREMY NATHANIEL STAGE,

                          Defendants.

               Government’s Notice of Intent to Offer Expert Witness Testimony

       The United States submits this Notice of Intent to Offer Expert Witness

 Testimony under Fed R. Evid. 702, 703, and 705 and Fed. R. Crim. P.

 16(a)(1)(G)(i). The United States intends to call the following witness from the DEA

 South Central Laboratory: 1

           •    KeiSharra Eldridge, Senior Forensic Chemist (Exhibit A);
           •    Paul Galat, Senior Forensic Chemist (Exhibit B);
           •    Kevin Roberson, Forensic Chemist (Exhibit C);
           •    Vanessa Torres De Leon, Senior Forensic Chemist (Exhibit D);
           •    Brandon Wilson, Senior Forensic Chemist (Exhibit E);


 1
     All laboratory reports (in discovery) have a signed statement by each DEA forensic chemist.
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 From the OBN Laboratory: 2

     • Kevin Kramer
     • Elizabeth Smith



     The witness’s curriculum vitae, containing a list of trial testimony from the last

 four years, is attached as an exhibit. The Government intends to call this witness as

 an expert in controlled substance analysis. The witness will testify as to procedure

 and methodology for testing for controlled substances, handling of evidence and

 documentation of same.

     The witness will testify that her analysis involved the application of scientific

 disciplines including chemistry and forensic science. The witness will testify

 consistently with the controlled substance analysis reports that were included as part

 of the government’s discovery.

     The Government reserves the right to question the experts regarding other matters

 that may be raised during cross-examination by Defendant, based upon the

 testimony elicited from Defendant’s experts, if any, or other witnesses, or the

 evidence introduced by Defendant. To the extent the Court allows Defendant the

 same right, the government reserves the right to elicit any additional testimony that




 2
  Due to the holiday, the Government was unable to obtain a signed statement of opinions or CV
 before the Notice date. (Dkt. #63). The Government is in the process of obtaining the statements
 and will file those signed statements/CV as soon as possible.
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 these experts are qualified to provide should the need arise based on further

 developments in preparing for and during the trial.

    The Government also reserves the right, within the limitations set by law and the

 Court, to amend this notice if the defense provides additional disclosure and to call

 additional expert witnesses if the need arises after the date of this filing.



     At the time of this Notice, Defendants Kenneth Wayne Toney, Osman Rolando

 Sanchez, and Jeremy Nathaniel Stage remain at large with an active federal arrest warrants.




                                           Respectfully submitted,

                                           CLINTON J. JOHNSON
                                           United States Attorney

                                           /s/ Mandy M. Mackenzie
                                           Mandy M. Mackenzie, WA Bar #55836
                                           Assistant United States Attorney
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                                    Certificate of Service

 I hereby certify that on the 30th day of December, 2024, I electronically transmitted
 the foregoing document to the Clerk of Court using the ECF System for filing and
 transmittal of a Notice of Electronic Filing to the following ECF registrant:

 Kathrine Greubel                                      Taylor McLawhorn
 Defense Counsel for Suarez Jr.                        Defense Counsel for Singletary


 Jason Perkins                                         Michael Noland
 Defense Counsel for Stokes                            Defense Counsel for Bahe


 Kara Pratt                                            Collin Rockett
 Defense Counsel for Lewelling                         Defense Counsel for Bradford




                                                       /s/ Mandy M. Mackenzie
                                                       Mandy M. Mackenzie
                                                       Assistant United States Attorney




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